                                          1   Randy Nussbaum (SBN 006417)
                                              Randy.Nussbaum@SacksTierney.com
                                          2
                                              Philip R. Rudd (SBN 014026)
                                          3   Philip.Rudd@SacksTierney.com
                                              Sierra M. Minder (SBN 035795)
                                          4   Sierra.Minder@SacksTierney.com
                                          5   SACKS TIERNEY P.A.
                                              4250 N. Drinkwater Blvd., 4th Floor
                                          6   Scottsdale, AZ 85251-3693
                                              Telephone: 480.425.2600
                                          7
                                              Facsimile: 480.970.4610
                                          8   Proposed Attorneys for Debtor

                                          9
                                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                         10
                                                                              THE DISTRICT OF ARIZONA
                                         11
                                              In re:                                           Chapter 11 Proceedings
                       P.A., ATTORNEYS




                                         12
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         13   WOODBRIDGE HOSPITALITY, L.L.C.,                  Case No.2:21-bk-04096-PS
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                                         14                         Debtor.                    DECLARATION OF MICHAEL
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                                                                                               HARRIS
                                         15
                                         16
                                         17
                                         18
                                         19
                                                       I, Michael Harris, hereby declare under penalty of perjury of the laws of the United
                                         20
                                              States of America, as follows:
                                         21
                                                       1.    I am an adult resident of Maricopa County, Arizona.
                                         22
                                                       2.    I am a founder, Vice President and Partner of Ledgestone Hospitality, LLC
                                         23
                                              (“Ledgestone”).
                                         24
                                                       3.    I am authorized and competent to make this declaration in support of
                                         25
                                              Woodbridge Hospitality, LLC’s (“Debtor”) Motion to Retain Ledgestone Hospitality, LLC
                                         26
                                              as Manager and Operator of Hotel (“Motion to Retain Hotel Operator”).
                                         27
                                                       4.    The statements contained herein are accurate to the best of my knowledge and,
                                         28

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                                          1   unless otherwise indicated, are based upon my personal knowledge and/or knowledge that I
                                          2   have gained from my review of the Debtor’s books and records that are kept in the ordinary
                                          3   course of business and my communications with the Debtor’s and Ledgestone employees
                                          4   who obtain their information from the Debtor’s books and records. Any legal conclusions
                                          5   contained herein are made based upon my understanding of the law and pertinent
                                          6   circumstances.
                                          7          5.     I have read and am familiar with the Motion to Retain Hotel Operator and its
                                          8   contents, and I assisted in the preparation of such motion.
                                          9          6.     I am also familiar with the Debtor’s (a) Motion for Order Authorizing Debtor’s
                                         10   Use of Cash Collateral to Pay Operating Expenses and Pre-Petition TPT Taxes (“Cash
                                         11   Collateral Motion”) and (b) Motion for Order Authorizing Debtor to Pay Pre-Petition Wages
                                         12   (“Wage Motion”), and I assisted in the preparation of those motions.
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                                         13          7.     Ledgestone currently manages and operates the Debtor’s hotel located
     SCOTTSDALE, ARIZONA 85251-3693




                                         14   generally at 9880 North Scottsdale Road in Scottsdale, Arizona (the “Hotel”), pursuant to
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                                         15   the Management Agreement dated February 12, 2020 (“Management Agreement”) between
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                                         16   the Debtor and Ledgestone. A copy of the Management Agreement is attached to the
                                         17   Statement of Facts as Exhibit “A.”
                                         18          8.     Ledgestone is not affiliated, in any way, with the Debtor, other than through
                                         19   the Management Agreement.
                                         20          9.     Ledgestone has extensive hotel management experience and expertise and has
                                         21   been managing and operating the Hotel for the Debtor since February 2019.
                                         22          10.    The terms and conditions of the Management Agreement are reasonable and
                                         23   consistent with industry standards.
                                         24          The Debtor
                                         25          11.    The Debtor is an Arizona limited liability company formed in December 2002.
                                         26          12.    The Debtor’s members are the Sukhbinder & Rupinder Khangura Family
                                         27   Revocable Trust dated May 19, 2008 (the “Suky & Rupi Trust”) and the Jasbir Khangura
                                         28   Revocable Trust dated July 13, 2013 (the “Jas Trust”) (collectively, the “Owners”).

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                                          1          13.    The beneficiaries of the Suky & Rupi Trust are Sukhbinder Khangura (“Suky”)
                                          2   and Rupinder Khangura (“Rupi”), and the beneficiary of the Jas Trust is Jasbir Khangura
                                          3   (“Jas”).
                                          4          14.    On May 26, 2021 (the “Petition Date”), the Debtor filed a voluntary petition
                                          5   for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court
                                          6   for the District of Arizona.
                                          7          15.    The Debtor is authorized to operate its business as debtor-in-possession
                                          8   pursuant to §§ 1107 and 1108 of the Bankruptcy Code. 1
                                          9          The Debtor’s Property
                                         10          16.    The Debtor owns the Suites on Scottsdale hotel located generally at 9880 North
                                         11   Scottsdale Road in Scottsdale, Arizona (the “Hotel”).
                                         12          17.    As discussed below, Ledgestone has been managing and operating the Hotel
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                                         13   for the Debtor since January 2019.
     SCOTTSDALE, ARIZONA 85251-3693




                                         14          18.    The Debtor acquired the Hotel in February 2003 and, until December 30, 2020,
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                                              operated the Hotel as a Homewood Suites by Hilton pursuant to a Franchise License
                                         16   Agreement with Promus Hotels, Inc., a subsidiary of Hilton Hotels Corporation (“HHC”),
                                         17
                                              dated February 14, 2003 (the “Franchise Agreement”).
                                         18
                                                     19.    The Franchise Agreement, which was set to expire in February 2023 by its own
                                         19
                                              terms, was terminated by HHC on December 30, 2020.
                                         20
                                                     20.    Prior to the termination of the Franchise Agreement in late December 2020,
                                         21
                                              the Debtor did not fully perform all of the “property improvement program” (“PIP”)
                                         22
                                              requirements under the HHC Franchise Agreement and, therefore, did not pass several HHC
                                         23
                                              “Quality Assurance” inspections.
                                         24
                                                     21.    Even though the Debtor proposed to pay between $6 million and $10 million
                                         25
                                              to improve the Hotel and satisfy the PIP requirements, HHC indicated to the Debtor that it
                                         26

                                         27
                                             Unless otherwise indicated, references to statutory sections herein shall be to the United
                                              1

                                         28 States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

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                                          1   was not interested in extending the Franchise Agreement beyond its expiration in February
                                          2   2023. Consequently, the Debtor chose not to expend the capital to make the PIP
                                          3   improvements.
                                          4           22.   Therefore, HHC terminated the Franchise Agreement effective December 30,
                                          5   2020.
                                          6           23.   The Hotel has 114 guest suites, of which approximately 95 are currently
                                          7   configured for guests (the rest are used as office and/or storage space) with a total of
                                          8   approximately 151 beds, two corporate meeting rooms, a business center, an outdoor pool, a
                                          9   fitness center, and other guest amenities, including a breakfast kitchen area.
                                         10           24.   As of the Petition Date, the Debtor had twelve employees, although the number
                                         11   of employees fluctuates with the seasons and general employee attrition.
                                         12           25.   As discussed below, the number of employees will likely be increased upon
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                                         13   implementation of the Endeavors Contract.
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                                         14           26.   Historically, the Debtor operated profitably. In fact, in 2019, under
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                                              Ledgestone’s management, the Debtor had revenues of approximately $3,831,000 and
                                         16   $819,203 in annual profit (after interest).
                                         17
                                                      27.   Like many industries, the hospitality industry in general, and the Hotel
                                         18
                                              specifically, were significantly adversely affected by the global COVID-19 pandemic, and
                                         19
                                              the Debtor’s operations and revenues suffered greatly in 2020. In fact, the Debtor’s revenues
                                         20
                                              declined by approximately 69% in 2020.
                                         21
                                                      28.   As discussed below, on December 8, 2020, the Debtor entered into a Purchase
                                         22
                                              and Sale Agreement (“PSA”) providing for the sale of the Hotel to SRE, who intends to
                                         23
                                              convert the Hotel to apartments.
                                         24
                                                      29.   Between December 30, 2020 and approximately May 22, 2021, the Debtor
                                         25
                                              operated the Hotel as an independent hotel.
                                         26
                                                      30.   As discussed below, on May 13, 2021, the Debtor entered into that certain
                                         27
                                              Subcontract Agreement in Support of Department of Homeland Security (DHS), Immigration
                                         28

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                                          1   and Customs Enforcement (ICE) Emergency Family Staging Centers (EFCS) (together with
                                          2   that certain Modification of Subcontract Agreement (Modification 01) dated May 28, 2021
                                          3   (the “Modification”), the “Endeavors Contract”)) with Family Endeavors, Inc., a Texas non-
                                          4   profit corporation d/b/a San Antonio Family Endeavors (“Endeavors”), which provides for
                                          5   the operation of the Hotel as a temporary shelter and emergency family staging center for
                                          6   non-citizen families under the supervision of the Department of Homeland Security,
                                          7   Immigration and Customs Enforcement (the “Government”).
                                          8            31.   Endeavors began housing families at the Hotel on or about May 28, 2021.
                                          9            Ledgestone Hospitality
                                         10            32.   In February 2019, after discovering AHI’s failure to file TPT tax returns and
                                         11   pay TPT taxes, the Debtor removed AHI and retained Ledgestone to manage the Hotel.
                                         12            33.   Specifically, the Debtor and Ledgestone are parties to that certain Management
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                                         13   Agreement dated February 12, 2020 (“Management Agreement”). A copy of the
     SCOTTSDALE, ARIZONA 85251-3693




                                         14   Management Agreement is attached to the Statement of Facts as Exhibit “A.”
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                                                       34.   Although Ledgestone had been operating the Hotel since February 2019,
                                         16   Ledgestone and the Debtor entered into the current Management Agreement in February
                                         17
                                              2020 to reflect certain changes in their arrangement and to provide for a term of up to three
                                         18
                                              years.
                                         19
                                                             Ledgestone’s Experience and Expertise
                                         20
                                                       35.   Ledgestone was formed in, and has been expertly managing hotels since, 2009.
                                         21
                                              A copy of Ledgestone’s presentation deck describing Ledgestone’s history, team, services,
                                         22
                                              and experience is attached to the Statement of Facts as Exhibit “B” and is incorporated herein
                                         23
                                              by this reference.
                                         24
                                                       36.   Ledgestone currently operates 30 hotels and has been recognized as an award-
                                         25
                                              winning hospitality management company by Hilton, IHG, Marriott, Wyndham, and others.
                                         26
                                              Indeed, Ledgestone hotels are the recipients of the coveted Hilton Lighthouse Award (top
                                         27
                                              5% of brand), several Hilton Circle of Excellence Awards (top 10% of brand), IHG Quality
                                         28

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                                          1   Excellence Award, IHG 5 of 5 Metrics Award and was recently named the IHG 2020
                                          2   Newcomer of the Year Award with its Arizona operation.
                                          3          37.      While Ledgestone is based out of Chanhassen, Minnesota, a suburb of
                                          4   Minneapolis, it has a western regional office in Phoenix, Arizona, with three Regional
                                          5   Directors operating out of Phoenix. In fact, Ledgestone manages a total of eight hotels in
                                          6   Arizona, including the Hotel and three other hotels owned by entities associated with the
                                          7   Debtor’s owners and four other hotels owned by three other owners.
                                          8          38.      Prior to forming Ledgestone in 2009, Michael Harris (“Harris”) as Senior
                                          9   Regional Director, and Kenneth Garvin (“Garvin”) as Vice President, headed
                                         10   the management division for a small national hotel brand (204 hotels) out of Minneapolis,
                                         11   MN for a little over a decade.
                                         12          39.      Harris and Garvin have over 60 years of combined hospitality management
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                                         13   experience.
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                                         14          40.      Over the past 30 years, Harris and Garvin, and other professionals employed
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                                              by Ledgestone, have amassed experience on all sides of the hospitality industry including as
                                         16   franchisees, franchisors, consultants, and management companies.
                                         17
                                                     41.      While Ledgestone approaches management from a return-on-investment
                                         18
                                              perspective, its also delivers award-winning brand results. It has a history of significantly
                                         19
                                              increasing both revenues and profitability.
                                         20
                                                     42.      Further, Ledgestone has extensive experience managing financial and
                                         21
                                              operational turnarounds in the hospitality industry, including managing financially troubled
                                         22
                                              hotels and experience assisting lenders with troubled assets, CMBS loans, workouts, and
                                         23
                                              receiverships. Ledgestone has also been retained by national hotel lenders for underwriting
                                         24
                                              purposes.
                                         25
                                                     43.      Ledgestone is an approved management company for almost all national hotel
                                         26
                                              brands including IHG, HHC, Marriott, Choice, Country Inn & Suites, Wyndham, Best
                                         27
                                              Western, etc.
                                         28

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                                          1            44.      Ledgestone follows strict USALI accounting practices, and directly employs a
                                          2   CPA (inactive) and several accountants in its offices.
                                          3            45.      Ledgestone has established a national footprint with properties from California
                                          4   to Wisconsin and has recently won top HHC, IHG and Wyndham awards for hotels in its
                                          5   portfolio.
                                          6            46.      Ledgestone is a complete turn-key management company. Its principals are
                                          7   experts      in   Operations,    Sales    &   Marketing,     Accounting,    Guest    Satisfaction,
                                          8   Revenue Optimization, Food & Beverage, and every other facet of professional
                                          9   hospitality management, including the capability to fully implement any brand required
                                         10   PIP’s (Property Improvement Plan), where required.
                                         11            47.      Harris is the primary point of contact for the Debtor with respect to the Hotel.
                                         12            48.      Harris is the vice president, co-founder, partner, and head of operations for
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                                         13   Ledgestone and lives in Arizona.
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                                         14            49.      In addition to managing and operating the Hotel for the Debtor, Ledgestone
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                                              manages and operates three other hotels in Arizona owned by entities affiliated with the
                                         16   Debtor, including the hotel owned by Crestwood. The Bankruptcy Court in the Crestwood
                                         17
                                              Chapter 11 case recently entered an order authorizing Ledgestone to manage and operate that
                                         18
                                              hotel.
                                         19
                                                       50.      Having operated and managed the Hotel for over two years, Ledgestone and
                                         20
                                              Harris are very familiar with the Hotel and its operations and with the Debtor and its financial
                                         21
                                              issues and challenges.
                                         22
                                                                The Management Agreement Between Ledgestone and the Debtor
                                         23
                                                       51.      Generally, the Management Agreement provides that Ledgestone shall have
                                         24
                                              the “full power, authority, discretion and control in all matters relating to the management,
                                         25
                                              operation and maintenance of the [Hotel] subject to Owner prior approval . . . .” Management
                                         26
                                              Agreement at § 1.1 (emphasis added).
                                         27
                                                       52.      The initial term of the Management Agreement is one year with an automatic
                                         28

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                                          1   renewal for an additional two years. Management Agreement at § 3.1.
                                          2             53.   Pursuant to the Management Agreement, Ledgestone is entitled to be paid a
                                          3   monthly management fee equal to the sum of two and one-half percent of the Room Revenue
                                          4   (as that term is defined in the Management Agreement) for the preceding month plus
                                          5   reimbursement of direct expenses incurred by Ledgestone for any third-party payroll
                                          6   processing services and yearly accounting licensing software fees. Management Agreement
                                          7   at § 4.
                                          8             54.   Notably, the industry standard for hotel management fees is between 3% and
                                          9   4% of room revenue plus additional accounting, revenue management and other fees.
                                         10   Ledgestone’s fee is reduced due to its management and operation of four hotels owned by
                                         11   entities associated with the Debtor’s owners.
                                         12             55.   Among other duties, Ledgestone is required to submit to the Debtor’s owners
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                                         13   an annual plan for the Hotel which includes an operating budget, capital expenditures budget
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                                         14   and marketing plan. Management Agreement at § 5.1.
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                                                        56.   Additionally, pursuant to the Management Agreement, Ledgestone is
                                         16   responsible for, at the Debtor’s expense, among other things, the maintenance and repair of
                                         17
                                              the Hotel; the replacement of equipment, furniture, furnishings, and improvements relating
                                         18
                                              to the Hotel; entering into service and vendor contracts for goods and services with third
                                         19
                                              parties relating to the operation of the Hotel; applying for, obtaining and maintaining any
                                         20
                                              necessary licenses and permits for the operation of the Hotel; compliance with governmental
                                         21
                                              laws, rules and regulations; compliance with Franchisor requirements; the selection, training,
                                         22
                                              supervision, and termination of employees; and maximizing profits for the Debtor.
                                         23
                                              Management Agreement at §§ 5 and 7.
                                         24
                                                        57.   Pursuant to the Management Agreement, the Debtor is obligated to provide, at
                                         25
                                              its expense, among other things, operating supplies for the management and operation of the
                                         26
                                              Hotel, and is required to pay all costs of maintaining, operating, improving, and insuring the
                                         27
                                              Hotel. Management Agreement at §§ 6 and 8.
                                         28

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                                          1         58.    Moreover, pursuant § 6.5 of the Management Agreement, the Debtor has
                                          2   agreed to indemnify Ledgestone and its managers, principals, and employees, and hold them
                                          3   harmless from certain claims and liabilities.     Specifically, § 6.5 of the Management
                                          4   Agreement provides as follows:
                                          5         6.5 Indemnification. The Owner hereby agrees to indemnify and hold the
                                                    Operator, and its managers, principals and employees of the Operator, harmless
                                          6         from any and all costs, expenses, attorneys' fees, suits, liabilities, judgments,
                                          7         damages and claims in connection with the management, maintenance and/or
                                                    operation of the Property (including the loss of use hereof following any
                                          8         damage, injury or destruction), arising from any cause other than for fraud,
                                                    negligence intentional misconduct or a breach of any provision of this
                                          9
                                                    Agreement on the part of the Operator or such other persons and entities. The
                                         10         Operator shall indemnify and hold harmless Owner and its principals,
                                                    managers and employees from any and all costs, expenses, attorneys' fees,
                                         11         suits, liabilities, judgments, damages and claims in connection with the
                                         12         management, maintenance and/or operation of the Property (including the loss
                                                    of use thereof following any damage, injury or destruction), arising from any
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                                         13         cause for which Operator's actions are fraudulent, negligent, intentional
     SCOTTSDALE, ARIZONA 85251-3693




                                                    misconduct or a breach of any provision of this Agreement. The provisions of
                                         14
                                                    this section shall survive any expiration or termination and shall be binding
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                                         15         upon Owner, its successors and assigns, including any successor or assign who
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                                                    becomes the owner of the Property after the effective date of any such
                                         16         expiration or termination.
                                         17         59.    The Management Agreement specifically provides that the relationship
                                         18   between the Debtor and Ledgestone is that of agent/representative and principal, and that
                                         19   there is no partnership or joint venture relationship between the parties. Management
                                         20   Agreement at §§ 12.2 and 12.3.
                                         21                Ledgestone’s Performance Under the Management Agreement
                                         22         60.    Since its initial retention by the Debtor in February 2019, Ledgestone has
                                         23   professionally, efficiently, and properly operated and managed the Hotel pursuant to the
                                         24   terms and requirements of the Management Agreement.
                                         25         61.    Ledgestone has also worked with and assisted the Debtor in connection with,
                                         26
                                              among other things, its agreement with ADOR concerning the delinquent sales taxes and its
                                         27
                                              negotiations with the Lender regarding the alleged defaults under the Loan.
                                         28

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                                          1          62.    Ledgestone has extensive and intimate knowledge of the Debtor’s business,
                                          2   financial affairs, operations, and capital and debt structure.
                                          3          63.    Given its management role for the past two years, Ledgestone has been
                                          4   instrumental in assisting the Debtor and its bankruptcy counsel in preparing the Debtor for
                                          5   this bankruptcy filing, including the preparation of first day motions, schedules of assets and
                                          6   liabilities and other necessary administrative matters in the bankruptcy case.
                                          7          I declare under the penalty of perjury that the foregoing is true and correct to the best
                                          8   of my knowledge.
                                          9          DATED: June 4, 2021.
                                         10

                                         11                                               /s/ Michael Harris
                                                                                         Michael Harris
                                         12
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